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               EXHIBIT 3
             Emails dated July 15, 2021
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Vickers, Tracie

From:                              Misty Hampton <mistyhampton3@yahoo.com>
Sent:                              Thursday, July 15, 2021 1:57 PM
To:                                Vickers, Tracie
Subject:                           Re: Open Records Request




| will be by tomorrow with cash to pick it up. Thank you


®@ misty



        On Jul 15, 2021, at 10:28 AM, Vickers, Tracie <Tracie.Vickers@coffeecounty-ga.gov> wrote:



        Good Morning Misty, | have just received the downloaded media from Charles to complete your
        request.   Due to the volume of the file, the data would not load on the previous drive that Charles
        downloaded and therefore wehad to get this backup drive that could handle more data.         Wesleyis
        waiving the administrative fees for Charles’ time that it took him to download the content, due to you
        having to wait longer than usual to receive your response. Theonly charge will be for the portable
        storage drive which is $59.39. The media with the camera footage is available to pick up at the
        Commissioner's Office. Again, we apologize for the delay. If you have any further questions, please
        contact me at 912-393-7108.


        Thanks
        Tracie




        Tracie Vickers
        County Clerk
        Coffee County Commissioners
        101 South Peterson Avenue
        Douglas, GA 31533
        912-393-7108


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